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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

CINDY DIVINE,                                  )
                                               )
                PLAINTIFF,                     )
                                               )              Case No. 15-cv-02639
                v.                             )
                                               )
VENTURE FINANCIAL                              )
SERVICES, INC.,                                )
                                               )
                 DEFENDANT.                    )


                            NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a) (1) (A) (i) of the Federal Rules of Civil Procedure, Plaintiff and

Plaintiff’s counsel hereby give notice that the above-titled action against Defendant shall be and

hereby is dismissed with prejudice and on the merits, with each side to bear its own fees and

costs.


Dated: May 27, 2015                                           Respectfully submitted,

                                                              By: s/Ryan M. Callahan
                                                              Attorney for Plaintiff

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